Case: 1:23-cv-01470-CEF Doc #: 1-3 Filed: 07/27/23 1 of 4. PagelD #: 33

Receipt for Your Payment to 1&1 IONOS Inc.

service@paypal.com <service@paypal.com> Sun, Apr 24, 2022 at 9:16 PM
To: Anthony Davian <a@graymattergr.com>

Hello, Gray Matter Group

You sent a payment of $25.17 USD to
1&1 IONOS Inc. (paypal@1and1.com)

It may take a few moments for this transaction to appear in your account.

Transaction ID Transaction date
32G468729P9562352 Apr 24, 2022 18:15:44 PDT
Merchant Instructions to merchant

1&1 IONOS Inc. You haven't entered any instructions.

paypal@1and1.com

Invoice ID
K560432607/005057964176

Description Unit price Qty Amount
Case: 1:23-cv-01470-CEF Doc #: 1-3 Filed: O72 ies 2 of 4. PagelD #: 34
K560432607/005057964176 $25.17 USD $25.17 USD
Subtotal $25.17 USD
Total $25.17 USD
Payment $25.17 USD

Payment sent to paypal@1and1.com
Payment sent from a@graymattergr.com

Funding Sources Used (Total)
HUNTINGTON BANK x-8036 $25.17 USD

Issues with this transaction?

You have 180 days from the date of the transaction to open a dispute in the
Resolution Center.

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PayPal RT000016:en_US(en-US):1.2.0:a3d5159e05764
Case: 1:23-cv-01470-CEF Doc #: 1-3 Filed: 07/27/23 3 of 4. PagelD #: 35

a@graymattergr.com

From: service@paypal.com

Sent: Tuesday, January 24, 2023 7:47 PM

To: Anthony Davian

Subject: Receipt for Your Payment to 1&1 IONOS Inc.

Hello, Gray Matter Group

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You sent a payment of $60.00 USD to 1&1
IONOS Inc. (paypal@1and1.com)

VAT =\ Vie) am \YAE-laT-y:4m re Yn) a

It may take a few moments for this transaction to appear in your account.

Transaction ID Transaction date
9WN2098111316850L Jan 24, 2023 19:47:02 PST

Merchant Instructions to merchant

1&1 IONOS Inc. You haven't entered any instructions.

paypal@1and1.com

Invoice ID

K560432607/005189150457

Description Unit price Qty Amount
Case: 1:23-cv-01470-CEF Doc #: 1-3 Filed: 07/27/23 4 of 4.

K560432607/005189150457 $60.00 USD 1

Subtotal
Total

Payment

PagelD #: 36

$60.00 USD

$60.00 USD
$60.00 USD

$60.00 USD

Payment sent to paypal@1and1.com

Payment sent from a@graymattergr.com

Funding Sources Used (Total)
HUNTINGTON BANK x-8036

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Issues with this transaction?

$60.00 USD

You have 180 days from the date of the transaction to open a dispute in the Resolution Center.

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